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                                 UNITED STATES DISTRICT COURT
                                                     District of New Mexico

MAHONE V. EDEN,
Case No. 1:15-cv-01009-PJK-KBM
                                                             COURT’S
                                                              EXHIBIT
                                                               LIST

 Presiding Judge:                             Plaintiff’s Counsel:                       Defendant’s Counsel:
 Paul J. Kelly, Jr.                           Paul Barber, Nathan Anderson, Mark Klecan (Eden)
                                              and Mark Caruso               Darci Carroll (Fletcher)
 Trial Dates:                                 Court Reporter:                            Courtroom Deputy/Law Clerk:
 July 8–10, 2019
                                              Julie Goehl                                R.J. Tepper and J. Hermann
  Ex.    Contested   Objection    Admitted      Date                 Witness                     Description of Exhibit
  No.                                          Offered
   1        X                    X           7/9/2019                          Jacqueline Fletcher Logs (LIMITED)
   2        X                                                                  Gerard Watson Logs (LIMITED)
   3                             X           7/9/2019                          Death Certificate
   4                             X           7/9/2019 Mahone                   Burial Receipts
   5                             X           7/9/2019                          Electronic Recording Data
                                                                               IC Agreement and Equipment Lease
   6        X
                                                                               (EXCLUDED)
   7        X                    X           7/9/2019 Brunson                  Photo of scene – front view
   8        X                                                                  Photo of scene – front view
   9        X                    X           7/9/2019 Brunson                  Photo of scene – cab view
  10        X                                                                  Photo of scene – cab view
  11        X                                                                  Photo of scene – cab view
  12        X                    X           7/9/2019 Brunson                  Photo of scene – cab view
  13        X                                                                  Photo of scene – trailer view
  14        X                    X           7/9/2019                          Photo of scene – rear view
  15        X                    X           7/9/2019                          Photo of scene – post accident
  16        X                                                                  Photo of scene – post accident
  17        X                                                                  Photo of scene – post accident
  18        X                                                                  Photo of rear tractor – on scene
  19        X                                                                  Photo of scene
  20        X                    X           7/9/2019 Brunson                  Photo of Gerard Watson at scene
  21        X                                                                  Photo of Gerard Watson at scene
  22        X                                                                  Photo of Gerard Watson at scene
  23                                                                           CFR § 390.5 – Definitions (WITHDRAWN)
                                                                               FMCSA, DOT § 390.5 – Definitions
  24
                                                                               (WITHDRAWN)
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25                X      7/9/2019            CFR § 392.3
26                X      7/9/2019            CFR § 392.4
27      X         X      7/9/2019 Brunson    Crash Report (Redacted)
28                X      7/9/2019 Mahone     Photo of Gerard Watson
29                X      7/9/2019            Photo of Gerard Watson
30                X      7/9/2019 Mahone     Photo of Gerard Watson – football
31                X      7/9/2019            Photo of Gerard Watson – prom
32                X      7/9/2019 Mahone     Photo of Gerard Watson
                                             Eden’s Medication List – Gary Eden Deposition
33                X      7/9/2019
                                             Exhibit #1
                                             State of New Mexico Incident Report, Incident
34
                                             No. 2013-11274 (WITHDRAWN)
                                             Office of the Medical Examiner Report of
35
                                             Findings, OMI # 2013-03690 (WITHDRAWN)
36                                           Demonstrative Exhibits
37                X      7/8/2019            Stipulated Expert Report of Brian McDonald




                                                                 Exhibit List Page 2 of 2
